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		OSCN Found Document:RE AUTHORIZATION OF ELECTRONIC DOCKETS FOR ADMIN. DIRECTIVES SCAD AND CCAD

					

				
  



				
					
					
						
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				RE AUTHORIZATION OF ELECTRONIC DOCKETS FOR ADMIN. DIRECTIVES SCAD AND CCAD2020 OK 103Decided: 12/07/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 103, __ P.3d __

				

RE: Authorization of Electronic Dockets for Administrative Directives SCAD and CCAD




ORDER


¶1 In order to provide electronic access to the dockets for Administrative Directives of the Supreme Court and the Court of Criminal Appeals, the following electronic case types/prefixes are hereby authorized for use on the Oklahoma Supreme Court Network and the Oklahoma Case Information System:


	
		
			
			Case Type/Prefix
			
			
			Description
			
		
		
			
			SCAD
			
			
			Supreme Court Administrative Directive
			
		
		
			
			CCAD
			
			
			Court of Criminal Appeals Administrative Directive
			
		
	


¶2 The dockets for Administrative Directives of the Supreme Court and Court of Criminal Appeals are currently publicly available, but are manually entered in docket books in the Office of the Court Clerk of the Appellate Courts. This authorization will allow future Administrative Directives to be entered electronically, and will enable the dockets of Administrative Directives to be publicly available electronically. Past Administrative Directives of these Courts will not be publicly available electronically.

¶3 The above case types/prefixes shall be integrated as soon as practicable for use by the Court Clerk of the Appellate Courts. Administrative Directives of the two Appellate Courts will be identified with the SCAD or CCAD prefix, then a hyphen, and then all four digits of the calendar year, which will be followed by a hyphen and the number of the case. Directives will be consecutively numbered within a calendar year. The four digits of the calendar year designation will be changed on each January 1 thereafter, and the consecutive directive number will begin again with number 1. Directive numbers will be assigned by the Clerk of the Appellate Courts to ensure the directives remain in sequence.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7th day of December, 2020.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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